Case 1:19-cv-02669-VM-KNF Document 58 Filed 11/01/20 Page 1 of 7
Case 1:19-cv-02669-VM-KNF Document 58 Filed 11/01/20 Page 2 of 7
Case 1:19-cv-02669-VM-KNF Document 58 Filed 11/01/20 Page 3 of 7
Case 1:19-cv-02669-VM-KNF Document 58 Filed 11/01/20 Page 4 of 7
Case 1:19-cv-02669-VM-KNF Document 58 Filed 11/01/20 Page 5 of 7
Case 1:19-cv-02669-VM-KNF Document 58 Filed 11/01/20 Page 6 of 7




 10/30




November 1      20
Case 1:19-cv-02669-VM-KNF Document 58 Filed 11/01/20 Page 7 of 7
